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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

MEMORANDUM

Date: August 21, 2017

Reply to: Angel Mireles/Finance
U.S. District Clerk
Corpus Christi Division

Subject: Voluntary Surrender

To: United States Marshal or any other authorized officer

 

» Please inform us if the Defendant in the specified case has surrendered and is in custody at the
present time:

Criminal Case No.: 2:17cr1 lO-l
Name: Roberto Martinezz Jr.

Date of Sentencing: 6/16/17
Scheduled Surrender Date: 8/10/17

 

This area to be completed by U.S. Marshal or any other authorized ofEcer`

Custod§(: Yes 2/ No

Date of Surrender: g / l 'o _/ / '_I

SiM~»\___ r`V \\~jlz

Clerk-U .Marshal
Dat_e: 3 _ ll / / ~)

